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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No: 21-cr-34 (CRC)
               v.                             :
                                              :
THOMAS ROBERTSON,                             :
                                              :
                       Defendant.             :


        UNITED STATES’ MEMORANDUM IN SUPPORT OF RESENTENCING

        Thomas Robertson (“Robertson”), a police sergeant for the town of Rocky Mount,

Virginia, joined the violent mob which attacked the United States Capitol in an effort to disrupt

the peaceful transition of power on January 6, 2021, using his law enforcement training to block

Metropolitan Police Department (“MPD”) Officers attempting to hold back the mob. For his

efforts to impede law enforcement, overturn the election results, and destroy evidence of his

crimes, this Court sentenced defendant Robertson to serve 87 months’ incarceration. As this Court

found at the sentencing hearing, this defendant’s conduct was of the utmost seriousness and the

87-month sentence imposed was sufficient, but not greater than necessary, to comply with the

purposes of sentencing. See 18 U.S.C. § 3553(a). The same is true today. See United States v.

Hostetter, 21-CR-392-RCL, ECF 507, at 4-5 (cleaned up) (“Fischer does not dictate the Court’s

application of the 18 U.S.C. 3553(a) factors [because] the Court may still consider [defendant’s]

serious conduct on January 6th, 2021, in its entirety. To reduce [defendant’s] sentence . . . would

require this Court to take a drastically different view of [defendant’s] conduct.”). Accordingly, for

the reasons set forth herein, the United States requests that this Court depart or vary upwards to

sentence Robertson to 87 months of incarceration, three years of supervised release, $2,000 in

restitution, and a mandatory assessment of $100 per felony and $10 per Class B misdemeanor.
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        I.      FACTUAL BACKGOUND

                a. Defendant Robertson’s Role in the Capitol Attack

       Defendant Robertson’s role in the Capitol attack has been well documented. The

Government need not recount it at length here and refers the Court to the Government’s 2022

Sentencing Memo for a full discussion of Robertson’s criminal conduct. See ECF No. 124

(“Government’s 2022 Sentencing Memo”). Suffice it to say, Robertson, a sworn law enforcement

officer, came to the U.S. Capitol with the intent of disrupting the certification of the 2020

presidential election and used his specialized training to impede MPD officers attempting to hold

back the mob – striking at least two officers with the large wooden stick he carried. Robertson’s

preparations before arriving at the Capitol, everything he did at the West Front, starting with his

confrontation of the officers at the base of the scaffolding and afterward (with his coconspirators

directly behind him in support), served his and the mob’s goal of stopping the proceeding inside.

Robertson put himself in midst of the first group of rioters who pushed up the stairs, overcame

the officers’ defenses on the West Front, and breached the Capitol building for the first time.

Inside, he joined a crowd that pushed the police line further back through the Crypt, located at the

very center of the building. The chaos this first wave of rioters kicked off inside the building led

to the evacuation of the House and Senate chambers only minutes later, suspending their

proceedings.

        Robertson traveled from the Rocky Mount, Virginia area to Washington, D.C. with co-

 defendant Jacob Fracker and his neighbor, both of whom he recruited to his efforts. At the time,

 Fracker was also a police officer at the Rocky Mount Police Department, and Robertson was his

 commanding sergeant. Robertson made the travel arrangements, supplied gas masks, water, and

 military food rations for all three men, drove Fracker and the third man up to D.C., and purchased
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and provided them all with Metrorail cards for the day. Robertson and Fracker were side by side

for nearly the entire day and ascended the stairs on the West Front together. They were briefly

separated at the top of the stairs, and therefore entered the Capitol building several minutes apart,

but as noted above, they reunited inside the Crypt and joined the crowd that swept officers further

back into the Capitol building. Despite both being police officers themselves, they did not assist

other officers in any way while inside, and they only left when a group of officers confronted

them in the then- nearly empty Crypt and ordered them to do so.

       In the days following the riot, Robertson bragged about his conduct on social media. For

example, after a selfie showing Robertson in the Crypt (taken shortly after the crowd

overwhelmed police in that room) circulated online, Robertson posted to Facebook, “Here’s the

picture in question and I am fucking PROUD of it. It shows 2 men willing to actually put skin

in the game and stand up for their rights. If you are too much of a coward to risk arrest, being

fired, and actual gunfire to secure your rights, you have no words to speak I value. Enjoy your

feel good protests and fame. I'll simply accept a ‘Thank you’ for the very blanket of freedom

that you live and sleep under.” Gov. Ex. 100D. Describing the events of January 6, he wrote

that the next American revolution had begun on January 6, 2021, and that people should just

“buckle up or stay home.” Trial Tr. 4/7/22 at 875. Both before and after January 6, he used

social media to confirm that overturning the election results and disrupting the proceeding was

the intended consequence of his actions on January 6. See, e.g., Gov. Ex. 100A, 100B, 100H,

100J (Robertson’s Facebook posts before January 6); Trial Tr. 4/7/22, at 688-91 (Fracker test.)

(explaining that Robertson believed “[t]hat the election was rigged,” that this bothered Robertson

“very much,” and that Robertson discussed these views); Gov. Ex. 100C, 100D, 100E, 100F,

100G, 100S (Facebook posts after January 6).
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        On January 13, 2021, Robertson was notified by the FBI that a warrant had issued for his

 arrest. He agreed to self-surrender later that day, but before doing so, he collected his and

 Fracker’s cell phones—the phones they had been using on January 6, 2021—and destroyed them.

 In text messages to a friend several days later, he admitted that “everything problematic has been

 destroyed, including my old phone.” Gov. Ex. 314A. That phone, Robertson wrote, “took a lake

 swim” and “had a tragic boating accident.” Id. And, as Fracker testified, Robertson understood

 from his law enforcement training that his phone would likely be seized incident to arrest. Trial

 Tr. 4/6/22 at 746-747.

                b. Defendant Robertson’s Post-Arrest Misconduct

       On January 12, 2021, a Magistrate Judge in the District of Columbia issued an arrest

warrant for Robertson for violations of 18 U.S.C. § 1752 and 50 U.S.C. § 5104. Robertson was

taken into custody on January 13, 2021, in the Western District of Virginia, and released subject

to certain conditions, consistent with 18 U.S.C. § 3142, including that he not violate any federal,

state, or local law while on release, and that he refrain from possessing a firearm, destructive

device, or other dangerous weapon. Robertson was also ordered to relocate any firearms in his

home by January 15, 2021. Nevertheless, four days later, while executing a search warrant at

Robertson’s property in connection with the Capitol riots charges, law enforcement discovered

and seized eight firearms from Robertson’s home, and large amounts of ammunition, as well as

what appeared to be equipment used for re-loading ammunition, in an out-building on Robertson’s

property.

       On January 19, 2021, Robertson appeared before a District of Columbia magistrate judge

and was again ordered not to possess a firearm, destructive device, or other weapon, and not to

commit any new violation of federal, state, or local law as conditions of his pre-trial release. On
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January 29, 2021, a grand jury in the District of Columbia charged Robertson with violations of

18 U.S.C. §§ 1512, 2 (Obstruction of an Official Proceeding, and Aiding and Abetting), 1752(a)(1)

(Entering and Remaining in a Restricted Building), 1752(a)(2) (Disorderly and Disruptive Conduct

in a Restricted Building), and 40 U.S.C. § 5104 (Violent Entry and Disorderly Conduct in a Capitol

Building or Grounds). Prior to this time, the pending charges against Robertson were

misdemeanors; however, the Indictment added a felony violation of 18 U.S.C. § 1512 against

Robertson.

       On February 2, 2021, Robertson appeared before a magistrate judge in the District of

Columbia for a hearing on ascertainment of counsel and arraignment. He appeared at the hearing

with his current counsel and entered a plea of not guilty. On February 25, 2021, Robertson was

arraigned for a second time on the charges in the Indictment before the Court. Robertson

acknowledged having read the Indictment, as well as having reviewed it with his attorney, before

pleading not guilty to the charges.

       On June 30, 2021, the United States asked the Court to revoke Robertson’s pretrial release

order because the day prior, following a lawfully authorized search of Robertson’s residence, law

enforcement discovered that Robertson had again violated his release conditions by possessing a

loaded M4 rifle and a partially-assembled pipe bomb at his home, and by purchasing an arsenal of

34 firearms online and transporting them in interstate commerce while under felony indictment, in

violation of 18 U.S.C. § 922(n). On July 28, 2021, following extensive briefing, the Court detained

Robertson pending trial. In doing so, the Court found that Robertson had failed to rebut the

presumption that he could not be safely released into the community. ECF No. 77 at 1.




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         II.     Relevant Procedural History

                 a. Conviction and Original Sentence

       On April 11, 2022, a jury found Robertson guilty on all six counts with which he was

charged for his conduct on January 6, 2021, and the aftermath – Count One, Obstruction of an

Official Proceeding, in violation of 18 U.S.C. § 1512(c)(2); Count Two, Interfering with Law

Enforcement During a Civil Disorder, in violation of 18 U.S.C. § 231(a)(3); Count Three, Entering

or Remaining in a Restricted Building or Grounds with a Dangerous Weapon, in violation of 18

U.S.C. § 1752(a)(1) and (b)(1)(A); Count Four, Disorderly or Disruptive Conduct in a Restricted

Building or Grounds with a Dangerous Weapon, in violation of 18 U.S.C. § 1752(a)(2) and

(b)(1)(A); Count Five, Disorderly Conduct in a Capitol Building, in violation of 40 U.S.C. §

5104(e)(2)(D); and Count Six, Obstruction of Justice through Destruction of Evidence, in violation

of 18 U.S.C. § 1512(c)(1). On August 17, 2022, this Court sentenced the defendant to 87 months

of incarceration for Counts One, Three, Four, and Six; 60 months of incarceration for Count Two;

and six months of incarceration for Count Five, with all terms to be served concurrently; 36 months

of supervised release, $2,000 restitution, and $510 in special assessment fees. See ECF 140. 1

         III.    Defendant Robertson’s First Sentencing Hearing

       During Robertson’s initial sentencing in 2022, the then-applicable United States

Sentencing Guidelines (U.S.S.G. or “Guidelines”) took into account not only the seriousness of

his four felony (and one misdemeanor) convictions, but also the totality of his conduct and the

relevant surrounding circumstances – Robertson trespassing on Capitol grounds with a dangerous



1
 On January 18, 2024, this Court issued an amended judgment (ECF 160) for Robertson correcting a small
clerical error in the original written judgment (ECF 140), which mistakenly listed one of the charges of
conviction as “18 USC 1751(a)(1) and (b)(1)(A)” instead of “18 USC 1752(a)(1) and (b)(1)(A).”
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weapon, engaging in disorderly and disruptive conduct on Capitol grounds in possession of a

weapon, and obstructing officers (striking at least two) during a civil disorder (while using and

threatening use of a dangerous weapon) – all with the intent to obstruct the certification and stop

the peaceful transfer of presidential power for the first time in the history of American democracy.

                a. The Guidelines Calculation at the Original Sentencing

       At sentencing, the applicable sentencing guidelines range was driven by Count One; the

Court grouped Counts Three, Four, and Six with Count One and the final Presentence

Investigation Report (ECF 122 (“2022 Final PSR”)) did not contain a separate calculation of the

applicable guidelines for Counts Three, Four, or Six. A summary of the Court’s guidelines

analysis, in agreement with Probation’s analysis, is as follows:

Grouping:

   •   Group 1: Counts One, Three, Four, and Six
          o pursuant to U.S.S.G. § 3D1.2(a): Counts One, Three, and Four and
          o pursuant to U.S.S.G. § 3D1.2(c): Count Six embodies conduct treated as a
             specific offense characteristic (§ 3C1.1) to one of the other counts
   •   Group 2: Count Two

Count One (18 U.S.C. § 1512(c)(2)) drove the Group 1 calculations:

       Base Offense Level              (U.S.S.G. §2J1.2(a))                         +14
       Specific Offense Characteristic (§2J1.2(b)(1)(B)-Threatening)                +8
       Specific Offense Characteristic (§2J1.2(b)(2)-Substantial Interference)      +3
       Adjustment                      (§3B1.1 – Aggravating Role)                  +2
       Adjustment                      (§3C1.1 – Obstruction of Justice             +2
       Total                                                                        29

Count Two (18 U.S.C. § 231(a)(3)):

       Base Offense Level               (U.S.S.G. §2A2.4(a))                        +10
       Specific Offense Characteristic (§2A2.4(b)(1)(B)-Dangerous Weapon)           +3




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        Total                                                                             13 2

See ECF No. 149 (“8/11/22 Sent. Tr.”) at 4-6, 26; see also 2022 Final PSR at ¶¶ 53-77.

        Group/Count                      Adjusted Offense                 § 3D1.4 Units
        Group 1                                 29                               1.0
        Group 2                                 15                               0.0
        Total Number of Units:                                                   1.0

        Combined Adjusted Offense Level (OL): 29 (Highest OL (29) + 0 under 3D1.4)

See 2022 Final PSR at ¶ 71. The U.S. Probation Office calculated Robertson’s criminal history as

Category I, based on a criminal history score of zero. Id. at ¶ 80. With a total offense level of 29,

pre-Brock (discussed below), the Court calculated Robertson’s Guidelines imprisonment range

during the original sentencing as 87-108 months. Id. at ¶74; see also 8/11/22 Sent. Tr. at 6, 57-58.

The Government asked the Court to impose a sentence of 96 months’ incarceration.

        As the above charts reflects, in sum, with regard to Count One, the base offense level was

14, consistent with U.S.S.G § 2J1.2(a). The Court added three levels to Count One of the

defendant’s guidelines calculation under United States Sentencing Guidelines (U.S.S.G. or

Guidelines) § 2J1.2(b)(2) finding that his actions had substantial interference with the

administration of justice, given “both the delay that the riot caused in the certification proceeding,

which is the proceeding at issue, and the expenditure of substantial resources that was necessary

to fix the damage that was done to the Capitol.” 8/11/22 Sent. Tr. at 19. The Court also added

eight-levels under § 2J1.2(b)(1)(B) because the defendant’s offense involved causing or




2
 Originally, Probation had included an additional adjustment for obstruction of justice for Count Two under
§ 3C1.1. See 2022 Final PSR at ¶ 69. However, during the sentencing hearing the Court noted that
Probation had changed its position and believed that adjustment did not apply to Count Two. See 8/11/22
Sent. Tr. at 5-6. The Government objected. Id. at 25. The Court clarified that applying the adjustment
would not “affect the overall adjusted offense level,” given the overall offense level was driven by Count
1. Id. at 6, 26 The matter does not appear to have been further addressed.
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threatening to cause physical injury to a person in order to obstruct the administration of justice.

Specifically, the Court found that the defendant a carried a large wooden stick in a manner capable

of causing serious injury, in other words, in threatening manner. Id. at 15. An additional two

points was added for his role in the offense under § 3B1.1(c), and two points were added for

obstruction under § 3C1.1, cmt., n.4(D) for a total of Offense Level of 29. With no criminal history

the applicable guidelines range for Count One as originally calculated was 87 to 108 months. With

regard to Count Two, the Court adopted a base offense level consistent of 10 consistent with

obstructing or impeding law enforcement officers under U.S.S.G. § 2A2.4. Adding three points

for possessing and threatening the use of a dangerous weapon under § 2A2.4(b)(1)(B), the adjusted

offense level was 13.

                b. The Court’s Findings at the Original Sentencing Hearing

       At sentencing the Court described defendant’s post-arrest conduct– a consideration which

is unaffected by either Fischer v. United States, No. 23-5572 (U.S.) or United States v. Brock, 94

F.4th 39, 51 (D.C. Cir. 2024) (both discussed below) – as an “aggravating factor,” and questioned

whether he could have any confidence that the defendant would not reoffend, suggesting that this

was “maybe the primary consideration” to take into account. 8/11/22 Sent. Tr. at 49, 54. As the

Court stated to the defendant at sentencing:

       You know, I read [the defendant’s post-offense statements], and it really seems like
       you think of partisan politics as war, you know, and that’s just not the right way to
       think about it, and that you continue to believe these conspiracy theories about the
       election being stolen despite any evidence of that whatsoever. And I sincerely
       believe that you would likely answer a call to duty if you were called to go do
       something like this again, and that's the biggest consideration that this Court has to
       consider.

8/11/22 Sent. Tr. at 63. Nothing in the defendant’s motion for release suggests he is any less likely

to offend today than he was on January 6, 2021.
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       The Court also made significant findings about the nature and circumstances of the offense,

another factor which must be considered at resentencing. The Court reflected in great detail on

the seriousness of the charged and uncharged conduct in the sentencing hearing, telling the

defendant:

       You advocated for an armed rebellion and a counter insurgency to overturn the
       result. So when you invited Mr. Fracker and others to come to D.C. on January 6th,
       it was not just to listen to a speech or to protest. I believe that the jury was correct
       in finding that at least one of your motivations was to interfere with what was going
       on in Congress that day. And when you got into your truck, you were at least
       expecting some form of violence …

       You were one of the first ones up the West Terrace stairs, which was one of the
       most chaotic and violent scenes of that day, and we watched those videos many
       times, and they're very jarring and disturbing…You are also one of the first -- you
       were among the first wave of people in the Capitol…

       [Y]ou were not some bystander who just got swept up in the crowd and in the
       emotion, but you were an active and willing participant, and that you were there for
       the purpose of disrupting the count, which Mr. Fracker testified to and which the
       jury found…

       Even after having time to reflect on the effect of January 6th, you continued to
       advocate for violence in response to the purportedly stolen election… In June, a
       full six months after January 6th, you posted on a gun forum, ‘I have learned very
       well that if you dip your toe into the rubicon, cross it. Cross it hard and violent and
       play for all the marbles.’ And even more troubling coming from a former law
       enforcement officer after four officers were killed on January 6th and four more
       took their lives by their own hand later, you advocated more violence against law
       enforcement. You told Mr. Deacon, ‘I can kill every agent they send for me for at
       least 2 weeks.’ We've talked about whether that was hyperbole, whether that was
       just boasting, whether that was just something you were saying on Facebook, or
       Instagram, or wherever it was, but it wasn't just your words. It was also your actions.
       You destroyed evidence. You continued to possess weapons, including an M4 and
       an explosive device, in repeated violations of your release conditions, and last
       summer you ordered -- and we can call it an arsenal, we can call it a cache, we can
       call it whatever we want – numerous automatic weapons while you were under
       federal indictment in violation of not only this Court’s orders but likely a federal
       law. And while you gave your neighbor your guns in response to a court order, you
       maintained ready access to them. And except for the destruction of the cell phones,
       none of that is incorporated in the guidelines analysis.

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8/11/22 Sent. Tr. at 60-62 (emphasis added).

        IV.      Defendant Robertson’s Appeal

       On appeal, the defendant challenged his conviction under 18 U.S.C. § 1512, as reflected in

Count One, which prohibits “corruptly . . . obstruct[ing], influenc[ing], or imped[ing] any official

proceeding, or attempt[ing] to do so.” The jury was instructed that, in order to convict defendant

Robertson of violating § 1512(c)(2), it had to find beyond a reasonable doubt that he (1) “attempted

[to] or did obstruct or impede an official proceeding”; (2) “acted with the intent to obstruct or

impede the official proceeding”; (3) “acted knowingly with awareness that the natural and probable

effect of his conduct would be to obstruct or impede the official proceeding”; and (4) “acted

corruptly.” Trial Tr. 980:14-20, 981:6-8, ECF No. 111. The defendant took issue with only the

“corruptly” element. He did not challenge any of the other elements or dispute that they were met.

       On May 28, 2024, the D.C. Circuit affirmed the defendant’s convictions, but vacated his

sentence and remanded him for resentencing under the D.C. Circuit’s decision in United States v.

Brock. In United States v. Brock, 94 F.4th 39, 51 (D.C. Cir. 2024), the D.C. Circuit held that, for

purposes of U.S.S.G. § 2J1.2, the phrase “administration of justice” does not apply to Congress’

certification of electoral college votes. Accordingly, the enhancement in U.S.S.G. § 2J1.2(b)(2),

which requires a three-level enhancement “[i]f the offense resulted in substantial interference with

the administration of justice” does not apply where a defendant interfered solely with the

certification of electoral college votes. Id. at 59. This holding also precludes application of the

eight-level enhancement in U.S.S.G. § 2J1.2(b)(1)(B), which applies if an offense “involved

causing or threatening to cause physical injury to a person, or property damage, in order to obstruct

the administration of justice,” to defendants who interfered solely with Congress’ certification of

electoral college votes.
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        The D.C. Circuit also ordered that, “on remand the district court may consider in the first

instance any effect of the Supreme Court’s” then-forthcoming “decision in Fischer v. United

States, No. 23-5572 (U.S.), on [Robertson’s] conviction under 18 U.S.C. § 1512(c)(2).” United

States v. Robertson, 103 F.4th 1, 27 (D.C. Cir. 2023).

         V.      The Impact of Fischer

        On June 28, 2024, after the D.C. Circuit remanded this case, the Supreme Court issued an

opinion in Fischer v. United States, 144 S. Ct. 2176 (2024). Fischer held that Section 1512(c)

does not cover “all means of obstructing, influencing, or impeding any official proceeding.” The

Court explained that, to prove a violation of Section 1512(c)(2), the government must establish

that the defendant impaired the availability or integrity for use in an official proceeding of records,

documents, objects, or other things used in the proceeding – such as witness testimony or

intangible information – or attempted to do so. Id. at 9, 16.

        Here, there is ample evidence of Robertson’s intent to impair the integrity of the election

certification proceedings –and specifically, impair the ability of the legislators to carry out their

constitutional duties that day. For example, Fracker testified that he understood that Mike Pence

had to do a “certain thing” and that the election results would get overturned – and that this what

they wanted to happen that day. 4/6/22 PM, Trial Tr. (Fracker Testimony). Nevertheless, given

the significant aggravating factors present in this case, the interests of justice in resolving a serious

case, and in order to clarify and simplify the issues to be resolved at the defendant’s resentencing

hearing, the Government is not asking the Court to move to sentencing on Count One at this time,

and expects to orally ask the Court to dismiss Count One at the sentencing hearing.




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        VI.     The Revised Guidelines Analysis

       As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 45

(2007); Rosales-Mireles v. United States, 585 U.S. 129, 133 (2018) (“[D]istrict courts must begin

their analysis with the Guidelines and remain cognizant of them throughout the sentencing

process.”). [T]he Guidelines remain the foundation of federal sentencing decisions.” Hughes v.

United States, 584 U.S. 675, 685 (2018). “As a matter of administration and to secure nationwide

consistency, the Sentencing Guidelines should be the starting point and the initial benchmark” for

determining a defendant’s sentence. Id. at 49.

                a. Probation’s Guidelines Recalculation without Count One

       The Probation Office filed a July 25, 2024, letter with post-Brock and post-Fischer

alternate Guidelines for defendant, which includes the following Guidelines calculations without

consideration of the Section 1512(c)(2) conviction. As noted below, the Government submits that

this calculation omits certain information and includes an error in the grouping:

Count Two (18 U.S.C. § 231(a)(3))/Count Four (18 U.S.C. § 1752(a)(2) and (b)(1)(A):

       Base Offense Level              (U.S.S.G. §2A2.4(a))                         +10
       Specific Offense Characteristic (§2A2.4(b)(1)(B)-Dangerous Weapon)           +3
       Adjustment                      (§ 3B1.1 – Aggravating Role)                 +2
       Total                                                                        15

Count Six (18 U.S.C. § 1512(c)(1)) drives the Group 2 calculations:

       Base Offense Level               (U.S.S.G. §2J1.2(a))                        +14
       Total                                                                        14

See ECF No. 167 (“2024 Guideline Calculation Letter”) at ¶¶ 72-74.




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Grouping:

        Group 1: Counts Two and Four, pursuant to U.S.S.G. § 3D1.2(c)
        Group 2: Count Three and Six, pursuant to U.S.S.G. § 3D1.2(b) 3

        Group/Count                    Adjusted Offense               3D1.4(a) Units
        Group 1                               15                            1.0
        Group 2                               14                            1.0
        Total Number of Units:                                              2.0

        Combined Adjusted Offense Level (OL): 17 (Highest OL (15) +2 under 3D1.4)

See 2024 Guideline Calculation Letter at ¶ 73. The U.S. Probation Office calculated defendant’s

criminal history as Category I, based on a criminal history score of zero. See 2022 Final PSR at ¶

80; see also 2024 Guideline Calculation Letter at ¶ 38. With a total offense level of 17, Robertson’s

corresponding Guidelines imprisonment range without the Section 1512(c)(2) conviction, as

calculated by Probation, but before considering the information discussed below, is 24-30 months.

Id. at ¶ 74; see also U.S.S.G. Ch. 5, Pt. A, Sentencing Table.

        Although the Government agrees with the two sentencing enhancements/adjustments

applied above (specifically, application of the aggravating role adjustment pursuant to U.S.S.G. §

3B1.1 and the dangerous weapon enhancement pursuant to U.S.S.G. § 2A2.4(b)(1)(B)), the

Government submits that:

    •   the aggravating role adjustment, pursuant to § 3B1.1, should be applied to all counts

        including Count Six, because Robertson’s organizer/leadership role continued as he not




3
 The grouping provisions cited for this guidelines analysis appear to be a scrivener’s error. Based on
Probation’s guidelines analysis with the 1512(c)(2) count, it should be the following:
    • Group 1: Counts Two and Four, pursuant to U.S.S.G. § 3D1.2(b)
    • Group 2: Count Three and Six, pursuant to U.S.S.G. § 3D1.2(c)
See 2024 Guideline Calculation Letter at ¶¶ 8-9.
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    only worked to delete incriminating evidence from January 6 from his phone, but he

    solicited, collected, and destroyed Fracker’s phone as well;

•   a two-level increase for obstruction of justice, pursuant to § 3C1.1, is appropriate for

    Counts Two, Three, and Four, as the evidence from his and Fracker’s phones that

    Robertson destroyed was relevant to all of the crimes defendant committed on January 6;

•   a three-level enhancement for “substantial interference with the administration of justice,”

    pursuant to U.S.S.G. § 2J1.2(b)(2), should apply to Count Six, since defendant used his

    police training to foil collection not just of the evidence in his possession but also Fracker’s

    photo and video evidence, and this missing evidence had a meaningful effect on the

    investigation and prosecution of Robertson’s and Fracker’s criminal conduct and, perhaps

    most significantly, impeded the government’s ability to collect evidence relevant to the

    investigation of Robertson and Fracker’s third suspected coconspirator, Robertson’s

    neighbor, in so far that communications between Robertson and his neighbor were never

    recovered, and were likely to exist on the destroyed phones.

•   a two-level enhancement for “selection of any essential or especially probative record,

    document, or tangible object, to destroy or alter,” pursuant to U.S.S.G. § 2J1.2(b)(3)(B),

    should apply to Count Six, because evidence at trial indicated that Robertson’s and

    Fracker’s phones contained both photos and videos from January 6 while Robertson and

    Fracker were on restricted Capitol grounds and inside the Capitol building, evidence of

    which goes to the heart of Robertson’s trespassing with a weapon, disorderly conduct with

    a weapon, and obstructing officers during a civil disorder; and also likely contained the

    aforementioned communications with the third coconspirator.

•   all counts should group, as detailed further below.
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          Additionally, the 2024 Guideline Calculation Letter does not include a full Guidelines

analysis for all counts of conviction. See id. at ¶¶ 72-74. 4 The full Guidelines analysis for Counts

Two through Six is as follows:

                   b. Analysis for each count

         Count Two: 18 U.S.C. § 231(a)(3)—Obstructing Police During a Civil Disorder

          Since there is no applicable Chapter Two Guideline for this offense in the Statutory

Appendix, the Court should use “the most analogous guideline.” U.S.S.G. §2X5.1. As originally

calculated, the Government requested, and the Court agreed, to use U.S.S.G. §2A2.4, “Obstructing

or Impeding Officers.”

    Base Offense Level:    10   U.S.S.G. §2A2.4(a) 5

     Specific Offense      +3   U.S.S.G. §2A2.4(b)(1)(B): “If… a dangerous weapon (including a
     characteristic             firearm) was possessed and its use was threatened, increase by 3 levels.”
    (Dangerous Weapon) 6
                                Photos and videos, as well as trial testimony, established that the
                                defendant brought a large wooden stick with him to the Capitol, and the
                                jury’s guilty verdict on Counts Three and Four establishes an express
                                finding that the large stick, in this defendant’s hands, constituted a
                                dangerous weapon. Trial evidence also established that, as part of his

4
 Guidelines Sections 1B.1(a)(1)-(3) describe the steps a sentencing court must follow to determine the
Guidelines range, which include determining the applicable Guideline, determining the base offense level,
applying appropriate special offense characteristics, and applying any applicable Chapter 3 adjustments.
Under U.S.S.G. § 1B1.1(a)(4), the applicable Guidelines analysis as set out in U.S.S.G. § 1B1.1(a)(1)-(3)
must be “repeat[ed]” for “each count.” Only after the Guidelines analysis as set out in U.S.S.G. §
1B1.1(a)(1)-(3) is performed, is it appropriate to “[a]pply” the grouping analysis as set out in Chapter 3.
The 2024 Guideline Calculation Letter does not follow these steps in full.
5
 Alternatively, Section 2A2.2 (Aggravated Assault) with a base offense level of 14 has been applied to the
conduct of January 6 defendants who assaulted law enforcement. Thus, at a base offense level of 10, Section
2A2.4 does not capture the full scope of Robertson’s relevant conduct.
6
  Although the record establishes that Robertson’s stick made contact with the officers, the Government did
not alternatively seek a physical contact enhancement pursuant to U.S.S.G. § 2A2.4(b)(1)(A) either in our
first sentencing memo or at the original sentencing hearing. At the time it would have made no difference to
the calculation. If applied by the Court, it would be applicable to Courts 2, 3 and 4.


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                          police training, the defendant had been trained and certified to carry a
                          police baton as a weapon.

                          Robertson also used the large stick in a “port arms” position, a tactical
                          position used by the military and law enforcement to push others away.
                          Specifically, BWC at trial showed that the defendant confronted MPD
                          CDU officers by blocking their path with his body and with the raised,
                          large wooden stick, which Robertson was holding in a “port arms”
                          position that officers use as a ready position when wielding a police baton.
                          Testimony established that from that position, a trained officer could use
                          the stick to block and push others. Video footage shows that the large
                          wooden stick made contact with at least two officers.
Adjustment           +2   U.S.S.G. § 3B1.1(c): “If the defendant was an organizer, leader, manager,
(Aggravating Role)        or supervisor in any criminal activity other than described in (a) or (b),
                          increase by 2 levels.”

                          Robertson was an organizer and leader: he recruited two individuals to
                          participate in the criminal conduct, one of whom was Robertson’s direct
                          subordinate in the police department, nearly 20 years Robertson’s junior,
                          and routinely called Robertson “dad.” Robertson also outfitted his two
                          recruits with supplies (including gas masks, water, and military food
                          rations), and provided transportation. Robertson also brought the large
                          wooden stick with him to D.C. The items that Robertson packed (including
                          the gas masks and big stick) and their manner of use make clear that
                          Robertson was organizing for trespass, disorderly and disruptive conduct,
                          forceful resistance to police, and obstructive conduct (both to obstruct
                          police during a civil disorder and to obstruct the certification): Robertson
                          put on his gas mask once he and Fracker reached an area with pepper spray
                          in the air and flash bangs being deployed (by officers trying to hold back
                          and disperse the crowd) (see Trial Tr. 4/6/22, at 699-702 (Fracker test.))
                          and he used the large wooden stick in a “port arms” tactical position to
                          physically block/obstruct officers and their attempts to hold rioters back.
Adjustment           +2   U.S.S.G. §3C1.1: “If (1) the defendant willfully obstructed or impeded, or
(Obstruction of           attempted to obstruct or impede, the administration of justice with respect
Justice)                  to the investigation, prosecution, or sentencing of the instant offense of
                          conviction, and (2) the obstructive conduct related to (A) the defendant's
                          offense of conviction and any relevant conduct; or (B) a closely related
                          offense, increase the offense level by 2 levels.” The commentary for §
                          3C1.1 clarifies that “directing or procuring another person to destroy or
                          conceal evidence that is material to an official investigation or judicial
                          proceeding . . . or attempting to do so” constitutes a violation of § 3C1.1.
                          U.S.S.G. §3C1.1, cmt. n.4(D).

                          On January 11, 2021, after learning that a warrant had issued for his and
                          Fracker’s arrest for their conduct on January 6, Robertson collected
                          Fracker’s cell phone prior to the arrest, and then destroyed that phone and
                          his own phone to prevent law enforcement from accessing any information
                          on the phones. The information destroyed included photos and videos

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                                which Robertson knew would be incriminating as they documented his
                                conduct on January 6 and his communications with both coconspirators.
 Total                    17


    Count Three: 18 U.S.C. § 1752(a)(1) and (b)(1)(A)—Entering And Remaining In A
             Restricted Area While In Possession Of A Dangerous Weapon
         The Statutory Index lists two guidelines for this offense, U.S.S.G. § 2A2.4 (Obstructing or

Impeding Officers) and § 2B2.3 (Trespass). The Guidelines direct that, if Appendix A specifies

more than one guideline, use the “most appropriate” guideline for the offense conduct charged in

the count of conviction. See Appendix A, Introduction; see also U.S.S.G. § 1B1.2 n.1. Here, since

18 U.S.C. § 1752(a)(1) is essentially a trespass statute, the most applicable guideline is U.S.S.G.

§ 2B2.3 (Trespass).

 Base Offense     4     U.S.S.G. § 2B2.3(a)
 Level:
 Specific         +2    U.S.S.G. § 2B2.3(b)(1)(A)(vii): the trespass occurred “at any restricted building
 Offense                or grounds.”
 Characteristic
 (Restricted            On January 6, 2021, the U.S. Capitol was restricted because protectees of the
 Building or            United States Secret Service were visiting. See 18 U.S.C. § 1752(c)(1)(B).
 Grounds)
 Specific         +2    U.S.S.G. § 2B2.3(b)(2): “If a dangerous weapon (including a firearm) was
 Offense                possessed, increase by 2 levels.”
 Characteristic
 (Dangerous             The jury’s verdict established that the defendant carried a dangerous weapon, in
 Weapon                 this case, a large wooden stick.
 Possessed)
 Cross                  U.S.S.G. §2B2.3(c)(1): “If the offense was committed with the intent to commit
 reference              a felony offense, apply §2X1.1 in respect to that felony offense, if the resulting
                        offense level is greater than that determined above.”

                        U.S.S.G. §2X1.1(a): “The base offense level from the guideline for the
                        substantive offense, plus any adjustments from such guideline for any intended
                        offense conduct that can be established with reasonable certainty.”

                        Robertson entered and remained in the restricted area of the Capitol grounds and
                        building, armed with a dangerous weapon (the large wooden stick, found by the
                        jury to be a dangerous weapon), not only for the purpose of obstructing the
                        certification but also to obstruct and impede officers, in violation of U.S.S.G. §
                        231(a)(3). Accordingly, the substantive offense is Count Two (obstructing
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                       police during a civil disorder, in violation of U.S.S.G. § 231(a)(3)), and the
                       guideline for Count Two (U.S.S.G. § 2A2.4) would be applied).
 Base Offense     10   U.S.S.G. §2A2.4(a)
 Level
 (adjusted):
 Specific         +3   U.S.S.G. §2A2.4(b)(1)(B): “If… a dangerous weapon (including a firearm) was
 offense               possessed and its use was threatened, increase by 3 levels.”
 characteristic
 (Dangerous            See discussion for Count Two above.
 Weapon)
 Adjustment       +2   U.S.S.G. § 3B1.1(c): “If the defendant was an organizer, leader, manager, or
 (Aggravating          supervisor in any criminal activity other than described in (a) or (b), increase by
 Role)                 2 levels.”

                       See discussion for Count Two above.
 Adjustment       +2   U.S.S.G. §3C1.1: “If (1) the defendant willfully obstructed or impeded, or
 (Obstruction          attempted to obstruct or impede, the administration of justice with respect to the
 of Justice)           investigation, prosecution, or sentencing of the instant offense of conviction,
                       and (2) the obstructive conduct related to (A) the defendant's offense of
                       conviction and any relevant conduct; or (B) a closely related offense, increase
                       the offense level by 2 levels.” The commentary for § 3C1.1 clarifies that
                       “directing or procuring another person to destroy or conceal evidence that is
                       material to an official investigation or judicial proceeding . . . or attempting to
                       do so” constitutes a violation of § 3C1.1. U.S.S.G. §3C1.1, cmt. n.4(D).

                       See discussion for Count Two above.
 Total            17


 Count Four: 18 U.S.C. § 1752(a)(2) and (b)(1)(A)—Disorderly and Disruptive Conduct In
            A Restricted Area While In Possession Of A Dangerous Weapon
         The Statutory Index references two guidelines for 18 U.S.C. § 1752(a)(2), U.S.S.G. §

2B2.3 (Trespass) and U.S.S.G. § 2A2.4 (Obstructing or Impeding Officers). The Guidelines direct

that, if Appendix A specifies more than one guideline, use the “most appropriate” guideline for

the offense conduct charged in the count of conviction. See Appendix A, Introduction; see also

U.S.S.G. § 1B1.2 n.1. Here, since 18 U.S.C. § 1752(a)(2) includes behavior beyond mere trespass,

the most applicable guideline is U.S.S.G. § 2A2.4 (Obstructing or Impeding Officers). See United

States v. Nassif, 97 F.4th 968, 983 (D.C. Cir. 2024) (“But section 2B2.3 is a mismatch for the

section 1752(a)(2) violation charged in Count Two…Section 2A2.4 is a more natural fit.”).

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 Base Offense Level:               10          U.S.S.G. §2A2.4(a)

 Specific Offense                  +3          U.S.S.G. §2A2.4(b)(1)(B): “If… a dangerous weapon
 characteristic                                (including a firearm) was possessed and its use was threatened,
 (Dangerous Weapon)                            increase by 3 levels.”

                                               See discussion for Count Two above.
 Adjustment                        +2          U.S.S.G. § 3B1.1(c): “If the defendant was an organizer, leader,
 (Aggravating Role)                            manager, or supervisor in any criminal activity other than
                                               described in (a) or (b), increase by 2 levels.”

                                               See discussion for Count Two above.
 Adjustment                        +2          U.S.S.G. §3C1.1: “If (1) the defendant willfully obstructed or
 (Obstruction of Justice)                      impeded, or attempted to obstruct or impede, the administration
                                               of justice with respect to the investigation, prosecution, or
                                               sentencing of the instant offense of conviction, and (2) the
                                               obstructive conduct related to (A) the defendant's offense of
                                               conviction and any relevant conduct; or (B) a closely related
                                               offense, increase the offense level by 2 levels.” The
                                               commentary for § 3C1.1 clarifies that “directing or procuring
                                               another person to destroy or conceal evidence that is material to
                                               an official investigation or judicial proceeding . . . or attempting
                                               to do so” constitutes a violation of § 3C1.1. U.S.S.G. §3C1.1,
                                               cmt. n.4(D).

                                               See discussion for Count Two above.
 Total                             17


 Count Five: 40 U.S.C. § 5104(e)(2)(D)—Disorderly or Disruptive Conduct in The Capitol
                                  Building Or Grounds
 Base Offense Level:             n/a      Because this offense is a Class B misdemeanor, the Guidelines do
                                          not apply to it. See 18 U.S.C. § 3559; U.S.S.G. §1B1.9; 40 U.S.C. §
                                          5109(b); 18 U.S.C. § 3559(a)(7); U.S.S.G. § 1B1.9.


    Count Six: 18 U.S.C. § 1512(c)(1)—Obstruction of Justice By Altering, Destroying,
           Mutilating, Or Concealing A Record, Document, Or Other Object
         The Statutory Index references only one guideline for 18 U.S.C. § 1512(c) offenses:

U.S.S.G. § 2J1.2 (Obstruction of Justice).

 Base Offense Level         14         U.S.S.G. § 2J1.2(a)
 Specific Offense           +3         U.S.S.G. § 2J1.2(b)(2): “If the offense resulted in substantial
 Characteristic                        interference with the administration of justice, increase by 3 levels.”

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(Substantial            Trial testimony established that immediately after Robertson learned
Interference)           that there was a warrant out for his arrest and Fracker’s arrest, Robertson
                        met Fracker and collected both of their cell phones before they self-
                        surrendered on the warrant. This prevented law enforcement officials
                        from collecting the phones in a search incident to arrest, which
                        Robertson knew would occur given his work in law enforcement. Then,
                        after Robertson was processed, arraigned on the charges and released,
                        Robertson destroyed both phones by throwing them into a lake. Several
                        days later, in a text message to a friend, Robertson admitted to doing this
                        because his phone was “problematic” in connection with the pending
                        case.

                        Robertson destroyed both his cell phone and Fracker’s cell phone, which
                        both men used while inside the Capitol and on the Capitol grounds
                        during the riot. We know that Fracker took photos and videos, and
                        Robertson took photos. This destruction of evidence was not brought to
                        light until Fracker agreed to plead guilty and cooperate with the
                        government, and the evidence on the phones was never recovered by law
                        enforcement. Based on this, the crime substantially interfered with the
                        administration of justice—specifically, the criminal charges against
                        Robertson and Fracker. Perhaps most importantly, the phones were
                        believed to have contained Robertson and Fracker’s communications
                        with their neighbor coconspirator, which have never been recovered.

                        Additionally, the “official proceeding” for Count Six (obstructing justice
                        by corruptly destroying records or objects to impair their availability for
                        use in an official proceeding), as specified in the Second Superseding
                        Indictment, is the investigation into the attack on the Capitol on January
                        6, and the prosecution of Robertson’s crimes, not the certification. See
                        ECF 74 at p. 4. Accordingly, the “administration of justice” interfered
                        with here is a criminal investigation and prosecution, not the
                        certification, and U.S.S.G. § 2J1.2 enhancements referring to the
                        “administration of justice” rightfully apply to such judicial proceedings
                        and related criminal investigations. See Brock, 94 F.4th at 51 (“Section
                        2J1.2’s text, context, and commentary show that ‘administration of
                        justice’ refers to judicial, quasi-judicial, and adjunct investigative
                        proceedings, but does not extend to the unique congressional function of
                        certifying electoral college votes.”)




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 Specific Offense       +2     U.S.S.G. §2J1.2(b)(3)(B): “If the offense… involved the selection of any
 Characteristic                essential or especially probative record, document, or tangible object, to
 (Especially                   destroy or alter… increase by 2 levels.”
 Probative)
                               Robertson destroyed his cell phone and Fracker’s cell phone, which both
                               men had used while on restricted Capitol grounds and inside the Capitol
                               building on January 6, 2021. Based on trial testimony and exhibits, the
                               government proved that both phones contained incriminating
                               photographs from the Capitol, and Fracker’s phone contained at least
                               three incriminating videos as well. Such photo and video evidence go to
                               the heart of Robertson’s trespassing with a dangerous weapon,
                               disorderly conduct with a dangerous weapon, and obstructing officers
                               during a civil disorder (which using a dangerous weapon). They also
                               were believed to have included probative evidence against their third
                               coconspirator, whose communications were never recovered.
 Adjustment             +2     U.S.S.G. § 3B1.1(c): “If the defendant was an organizer, leader,
 (Aggravating Role)            manager, or supervisor in any criminal activity other than described in
                               (a) or (b), increase by 2 levels.”

                               After January 6, Robertson organized the collection and destruction of
                               both Fracker’s and his own phone after learning of the FBI investigation.

 Total                  21

                 c. Grouping Analysis

         Under U.S.S.G. § 3D1.2(a)-(c), “closely related counts” group. Count Three (Entering and

Remaining in a Restricted Building or Grounds While Using or Carrying a Dangerous Weapon, in

violation of 18 U.S.C. § 1752(a)(1) and (b)(1)(A)), and Count Four (Disorderly and Disruptive

Conduct in a Restricted Building or Grounds While Using or Carrying a Dangerous Weapon, in

violation of 18 U.S.C. § 1752(a)(2) and (b)(1)(A)), group because they have the same victim –

Congress. See U.S.S.G. § 3D1.2(a) and (b). Furthermore, Count Two (Obstructing Officers

During a Civil Disorder, in violation of 18 U.S.C. § 231(a)(3)) groups with Counts Three and Four,

pursuant to U.S.S.G. § 3D1.2(c) – because Count Two embodies conduct (Robertson’s use of the

large wooden stick to obstruct officers) that is treated as a specific offense characteristic in the




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guideline applicable to Counts Three and Four (specifically, the possession and threatened use of

a dangerous weapon, pursuant to U.S.S.G. § 2A2.4(b)(1)(B)).

       Finally, Count Six (Obstruction of Justice by Destroying or Concealing a Record,

Document, or Other Object, in violation of 18 U.S.C. § 1512(c)(1)) groups with Count Two

because it must group with at least one of the counts with a § 3C1.1 adjustment, pursuant to

U.S.S.G. § 3D1.2(c). See U.S.S.G. § 3C1.1, cmt., n.8 (“the count for the obstruction offense will

be grouped with the count for the underlying offense under subsection (c) of § 3D1.2”); see also

U.S.S.G. § 3D1.2, cmt., n.5 (“If... [a] bribe was given for the purpose of hampering a criminal

investigation into the offense [of fraud], it would constitute obstruction and under § 3C1.1 would

result in a 2-level enhancement to the offense level for the fraud. Under the[se] circumstances, the

counts would be grouped together.”). Accordingly, Counts Two, Three, Four, and Six all group

together. The offense level for that Group is “the highest offense level of the counts in the Group,”

pursuant to § 3D1.3(a). See U.S.S.G. § 3D1.3(a); see also U.S.S.G. § 3D1.4, comment. n. 1 (noting

that when the analysis in §§ 3D1.2 and 3D1.3 results in a single group, the combined offense level

for that group is simply the offense level for that group as determined under § 3D1.3); U.S.S.G. §

3C1.1, cmt., n.8 (“The offense level for that group of closely related counts will be the offense

level for the underlying offense increased by the 2-level adjustment specified by this section, or

the offense level for the obstruction offense, whichever is greater.”). Here, the highest offense

level in the Group is the offense level (21) for the obstruction offense, Count Six. Hence, the

offense level for the Group is 21.




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                d. Acceptance of Responsibility

       Robertson did not accept responsibility. Instead, he contested factual guilt and went to trial

on all six charges against him, all of which resulted in guilty verdicts. Accordingly, he is not

entitled to the minus-two adjustment under U.S.S.G. § 3E1.1(a). See 2024 Guideline Calculation

Letter ¶ 45; see also U.S.S.G. § 3E1.1, comment. n. 2 (“This adjustment is not intended to apply

to a defendant who puts the government to its burden of proof at trial by denying the essential

factual elements of guilt, [and] is convicted”); United States v. Dozier, 162 F.3d 120, 126–27 (D.C.

Cir. 1998) (finding that the defendant was ineligible for the 3E1.1(a) two-level downward

adjustment for acceptance of responsibility where he went to trial and was acquitted of three drug

charges but convicted of two firearms offenses). Additionally, because Robertson is ineligible for

the § 3E1.1(a) adjustment, he is also ineligible for the § 3E1.1(b) adjustment. See U.S.S.G. §

3E1.1(b).

                e. Inapplicability of U.S.S.G. § 4C1.1 (Adjustment for Certain Zero-Point
                   Offenders)

       Recent amendments to the Sentencing Guidelines for 2023 include a new guideline,

U.S.S.G. § 4C1.1, which provides for a two-level decrease in the offense level for offenders who

have no criminal history points and who meet certain additional criteria.

       Section 4C1.1 does not apply in this case, because Robertson used “violence or credible

threats of violence in connection with the offense[s],” in contravention of U.S.S.G. § 4C1.1(a)(3);

Robertson possessed a dangerous weapon (a large wooden stick) in connection with the offenses,

in contravention of U.S.S.G. § 4C1.1(a)(7) (see 2024 Guideline Calculation Letter at ¶ 31); and

Robertson “receive[d] an adjustment under § 3B1.1 (Aggravating Role),” in contravention of

U.S.S.G. § 4C1.1(a)(10).

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       As discussed above, Robertson was wearing a gas mask while he blocked the path of MPD

CDU officers with his body and with a large wooden stick raised in a “port arms” position, which

officers use as a ready position when wielding a police baton. And as officers tried to move past

Robertson the stick made contact with them. As this Court acknowledged at Robertson’s original

sentencing, while discussing the application of the U.S.S.G. § 2J1.2(b)(1)(B) enhancement for

“threatening to cause physical injury,” Robertson’s behavior was threatening:

       While perhaps not aggressively threatening, as I said, if I were an officer, I would
       have felt physically threatened if I saw the defendant standing in front of me with a
       backpack and a gas mask holding a stick at port arms standing right in front of me
       and not moving out of the way and making contact with it as I tried to organize a
       line to fight off a violent mob. I would consider that threatening or menacing
       conduct.
       In addition, the Webster’s definition of ‘threat’ is an expression of intention to
       inflict injury. That is very close to the instruction that I gave the jury on carrying a
       dangerous weapon, namely that they had to find that the defendant, quote, carried
       the stick with the intent to use it in a manner capable of causing serious injury. In
       my view, carrying a weapon with the intent to use it to inflict injury is tantamount
       to expressing an intention to inflict injury, which is the dictionary definition of
       “threat.” So I believe the enhancement applies.

8/11/22 Sent. Tr. at 15 (emphasis added). The analysis used above is also consistent with the

analysis that at least one other court has used in considering the inapplicability of § 4C1.1 because

the defendant engaged in a “credible threat of violence.” See United States v. Bauer, No.

121CR003862TNM, 2024 WL 324234, at *3 (D.D.C. Jan. 29, 2024) (“a ‘credible threat of

violence’ is a believable expression of an intention to use physical force to inflict harm.”).

       Furthermore, the context in which defendant acted—with officers being confronted,

attacked, and assaulted by other rioters at same time—made defendant’s conduct even more

threatening. See United States v. Andrulonis, No. 23-cr-085 (BAH), Sentc’g Hrg. Tr. at 11-12 (“In

evaluating whether credible threats of violence were posed by the defendant's offense conduct, to


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my mind, the context matters very critically. In other words, evaluating a defendant’s offense

conduct requires examination of all the factors of the offense including what the particular

defendant being sentenced did; where he was; what he was seeing; what a person would reasonably

understand was the volatility of the situation; the threat that whole situation would pose to others;

the foreseeable harm of the situation; and the consequences of the specific defendant’s

individualized actions. So the fact that this defendant is not personally charged with assaulting or

attacking officers is, therefore, not sufficient to make him eligible for the zero criminal history

score offense-level reduction.”).

       Additionally, defendant Robertson possessed a dangerous weapon. As defined in the

Guidelines, a dangerous weapon is “an instrument capable of inflicting … serious bodily injury.”

U.S.S.G. § 1B1.1 cmt., n.1 (E)(i). As discussed above, Robertson, who had been trained by police

and military forces, carried a large wooden stick which he used in a port arms tactical position to

block officers who were already being attacked and assaulted by the mob. In those circumstances,

the large wooden stick was capable of inflicting serious bodily injury and hence was a dangerous

weapon. Finally, the Court applied the aggravating role adjustment pursuant to U.S.S.G. § 3B1.1

at Robertson’s original sentencing as previously recommended by Probation (see 8/11/22 Sent, Tr.

at pp. 5, 26). Recently, Probation again recommended application of the aggravating role

adjustment pursuant to § 3B1.1 in their 2024 Guideline Calculation Letter (at ¶15); and as

discussed above, the Government believes that the aggravating role adjustment applies to all of

Robertson’s counts of conviction subject to the Guidelines.




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                f. Criminal History and Guidelines Range

       The U.S. Probation Office calculated defendant’s criminal history as Category I, based on

a criminal history score of zero. See 2022 Final PSR at ¶ 80; see also 2024 Guideline Calculation

Letter at ¶ 38. With a total offense level of 21, Robertson’s corresponding Guidelines

imprisonment range, as calculated by the Government, is 37-46 months. See U.S.S.G. Ch. 5, Pt.

A, Sentencing Table. This represents a significant drop from the original Guidelines range

calculated by the Court and Probation (87-108 months’ imprisonment), but of course, there was

no change in the egregious nature of the underlying conduct.

         VII.   The Government’s Resentencing Request

                a. An Upward Departure is Warranted

       After determining the defendant’s Guidelines range, a court then considers any departures

or variances. See U.S.S.G. § 1B1.1(a)-(c); U.S.S.G. § 1B1.1, cmt., background (“If, after step (c),

the court imposes a sentence that is outside the guidelines framework, such a sentence is considered

a ‘variance.’”). Because the defendant’s Guidelines range does not capture the unprecedented and

uniquely harmful nature of his crimes, which struck at the heart of our democracy and the rule of

law, the Government respectfully requests that the Court depart or vary upwards from the top of

the Guidelines range to 87 months’ incarceration.

       Defendant Robertson was an avid and willing participant in an unprecedented crime. He

joined a mob that threatened the lives of legislators and their staff, interrupted of the certification

of the 2020 Electoral College vote count, injured more than one hundred police officers and

resulted in more than 2.9 million dollars in losses. His offenses targeted the peaceful transfer of

power, an essential government function, and one of the fundamental and foundational principles

of our democracy. Like every member of the mob, Robertson “endanger[ed] our democratic
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processes and temporarily derail[ed] Congress’s constitutional work.” United States v. Brock, 94

F.4th 39, 59 (D.C. Cir. 2024). As Judge McFadden put it to another rioter, “[Y]ou and your fellow

rioters were responsible for substantially interfering with the certification, causing a multiple-hour

delay, numerous law enforcement injuries and the expenditure of extensive resources.” United

States v. Hale-Cusanelli, 21-cr-37 (TNM), Sent’g Tr. 9/22/22 at 86-87.

        But nothing in Robertson’s Guidelines calculation reflects these facts. Robertson would

face the same offense level if his crimes had not endangered the democratic process or interfered

with the peaceful transfer of power. 7 There is no specific offense characteristic in the Guidelines

for attacking democracy or abandoning the rule of law. “And simply saying, yeah, I know I

trespassed, I trespassed, that’s not really capturing the impact of what that day meant when all of

those members of Congress met there to fulfill their constitutional duty.” United States v. Calhoun,

21-CR-116-DLF, Sent. Tr. at 85. So a sentence within the defendant’s Guidelines range here

would not “reflect the seriousness of the offense,” “promote respect for the law,” or “provide just

punishment for the offense.” 18 U.S.C. § 3553(a)(2)(A).

        The Guidelines expressly state that a departure is warranted when an offense results in “a

significant disruption of a governmental function” and the Guidelines do not reflect the appropriate




7
  The D.C. Circuit’s holding in Brock, 94 F.4th 39, finding that certain sentencing enhancements did not
apply to the Congress’s counting and certification of the electoral college votes, despite acknowledging that
interference with this process “no doubt endanger[ed] our democratic process and temporarily derail[ed]
Congress’s constitutional work” demonstrates that the Sentencing Commission failed to anticipate anything
like the January 6 riot when drafting the Guidelines. And the Supreme Court’s decision in Fischer v. United
States, 144 S. Ct. 2176, 2195 (2024) demonstrates that even the criminal code lacks the appropriate tools
to fully address the crimes of January 6. See Fischer, slip op. at 29 (Barrett, J., dissenting) (“Who could
blame Congress for [its] failure of imagination?”).

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punishment for the offense. U.S.S.G. § 5K2.7. 8 In such circumstances, “the court may increase the

sentence above the authorized guideline range to [1] reflect the nature and extent of the disruption

and [2] the importance of the governmental function affected.”

        It is not hyperbole to call what happened on January 6 a crime of historic magnitude. As

judges of this district have repeatedly and clearly stated, January 6 was an unprecedented

disruption of the nation’s most sacred function—conducting the peaceful transfer of power. “The

events that occurred at the Capitol on January 6th will be in the history books that our children

read, our children’s children read and their children’s children read. It’s part of the history of this

nation, and it’s a stain on the history of this nation.” United States v. Miller, 21-CR-75-RDM, Sent.

Tr., at 67. But just as the history books will describe the crimes of January 6, so will they tell the

story of how this nation responded. Future generations will rightly ask what this generation did to

prevent another such attack from occurring. The damage done to this country on January 6 must

be reflected in the sentences imposed on those who caused the damage—it must not be treated as

just another crime. “January 6th wasn’t an ordinary violent riot but one that interfered with the

counting of electoral votes and the peaceful transition of power, which is one of the bedrocks of

our democracy.” United States v. Perkins, 21-CR-147-CJN, Sent. Tr. at 53; see also United States

v. Fitzsimons, 21-CR-158-RC, Sent. Tr., at 85-86. (“The security breach forced lawmakers to hide

inside the House gallery until they could be evacuated to undisclosed locations. In short, the

rioters’ actions threatened the peaceful transfer of power, a direct attack on our nation's

democracy.”). There can be no doubt that it caused a significant disruption to a vital governmental



8
 This guideline does not require the government to establish a direct link between the defendant’s
misconduct and the alleged disruption, nor does it “require that the disruption be of any particular type or
consequence.” See United States v. Saani, 650 F.3d 761, 765–66, 771 (D.C. Cir. 2011).
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function. See, e.g., United States v. Rivera, 21-cr-60 (CKK), ECF No. 62 at 13 (“Just as heavy

rains cause a flood in a field, each individual raindrop itself contributes to that flood. Only when

all of the floodwaters subside is order restored to the field. The same idea applies in these

circumstances. Many rioters collectively disrupted congressional proceedings and each individual

rioters contributed to that disruption. Because [the defendant’s] presence and conduct in part

caused the continued interruption to Congressional proceedings, the court concludes that [the

defendant] in fact impeded or disrupted the orderly conduct of Government business or official

functions”).

       Because the seriousness of Robertson’s crime is not adequately captured by the applicable

Guideline, an upward departure under § 5K2.7 is appropriate. Indeed, judges of this Court have

already applied § 5K2.7 in January 6 cases. See United States v. Eicher, 22-cr-38 (BAH), Sent. Tr.

9/15/23 at 50 (applying § 5K2.7 because the defendant “join[ed] a mob, in the center of the melee,

and through the sheer numbers and aggressive conduct towards police, breached the Capitol

resulting in stopping the legitimate business of Congress for hours”); United States v. Black, 21-

CR127-ABJ, Sent. Tr. 5/16/23 at 27 (applying an upward departure pursuant to § 5K2.7 for a

January 6 rioter).

                b. Analysis of the 18 U.S.C. § 3553(a) Factors Remains the Same

       After calculating the Guidelines, the Court should next consider the sentencing factors set

forth in 18 U.S.C. § 3553(a). Gall, 552 U.S. at 49, 50. This two-prong “sentencing framework

applies both at a defendant’s initial sentencing and at any subsequent resentencing after a sentence

has been set aside on appeal.” Pepper v. United States, 562 U.S. 476, 490, 131 S. Ct. 1229, 1241,

179 L. Ed. 2d 196 (2011) (citing 18 U.S.C. § 3742(g) (“A district court to which a case is

remanded ... shall resentence a defendant in accordance with section 3553”) and Dillon v. United
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States, 560 U.S. 817, 828, 827, 130 S.Ct. 2683, 2692, 177 L.Ed.2d 271 (2010)). Although “the

Supreme Court's decision in Fischer may ultimately change the Guidelines recommendation for

[a defendant], Fischer does not dictate the Court’s application of the 18 U.S.C. § 3553(a) factors

to [that defendant’s] remaining convictions[, and t]he Court may still consider [the defendant’s]

serious conduct on January 6th, 2021 in its entirety, even if the court of appeals concludes that

this conduct no longer constitutes a crime under 18 U.S.C. § 1512.” Hostetter, 1:21-CR-392-1-

RCL, ECF 507 (July 18, 2024 Order Denying Motion for Release from Custody Pending Appeal)

at 4. Section 3553(a) provides that the Court consider the following: (A) “the nature and

circumstances of the offense,” 18 U.S.C. § 3553(a)(1); (B) “the history and characteristics of the

defendant,” id.; (C) the promotion of “respect for the law,” 18 U.S.C. § 3553(a)(2)(A); (D) general

and specific “deterrence,” 18 U.S.C. § 3553(a)(2)(B)(C); (E) the Guidelines and Guideline range,

§ 3553(a)(4); and (F) “the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct.” 18 U.S.C. § 3553(a)(6). The

Guidelines is just one of many factors under § 3553(a).

       As discussed above and below, the Guidelines range in the instant case is not an accurate

reflection of the harm or gravity unique to the defendant’s attempts to obstruction the certification

of the 2020 presidential election, an attempt to undermine American democracy itself.

Furthermore, as discussed above and below, this defendant in particular has characteristics (such

as being a police officer who inexcusably used his training against other officers) and post-arrest

misconduct (weapons hoarding) that the new guidelines do not adequately take into account in his

conduct, his history, and the severity and harm of what happened.

                        i. Nature and Circumstances of the Offense Support an 87-
                           month sentence

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       As discussed above, Robertson’s felonious conduct on January 6, 2021, was part of a

massive riot that almost succeeded in preventing the certification vote from being carried out,

frustrating the peaceful transition of Presidential power, and throwing the United States into a

Constitutional crisis. Robertson used violent political rhetoric on social media in the weeks and

month leading up to January 6, for instance discussing “counter-insurgency” and “open armed

rebellion” (see Government’s 2022 Sentencing Memo, p. 4), and recruited Fracker (Robertson’s

then-subordinate at RMPD who was nearly 20 years Robertson’s junior) and a third man to join

him on the trip to D.C., and made the travel arrangements, supplied gas masks, water, and military

food rations for all three men, drove Fracker and the third man up to D.C., and purchased and

provided them all with Metrorail cards for the day. Robertson also packed a large wooden stick,

and had been trained and certified to use similar weaponry, i.e., police batons, as a police sergeant.

He witnessed the crowd assaulting MPD-CDU officers, and instead of helping his fellow officers,

Robertson stood firmly in front of them, blocked their path, and raised up his wooden stick in the

“port arms” tactical position, and while in that position his large wooden stick made contact with

other officers. Robertson was also part of the first wave of rioters to breach the Capitol building

on January 6; he joined a mob that overcame yet another police line that had formed in the Crypt,

and, as rioters chanted, Robertson showed his support by banging his stick in time on the ground,

while Fracker clapped along; and he then remained in the Crypt with Fracker to take selfies. He

then bragged about his involvement in January 6 on social media after the fact; after hearing about

a warrant, he collected phones with possible incriminating evidence to be destroyed; and after

arrest, he proceeded to violate several orders put in place by the courts while he was on supervision.

And all of this was done in the shadow of the fact that Robertson had intended and actually

attempted to stop the certification of the 2020 presidential election. As previously asserted, the
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nature and circumstances of Robertson’s offenses remain of the utmost seriousness, and continue

to fully support the Government’s recommended sentence of 87 months’ imprisonment.

       Not only did the defendant participate in the January 6, 2021, insurrection and subsequently

cover-up his criminal conduct by destroying evidence, but after he was arrested, he trafficked in

firearms in direct violation of this Court’s orders. As detailed at length in the briefing on the

Government’s motion to revoke the defendant’s conditions of release, ECF Nos. 30, 32 and 34, on

June 29, 2021, following a lawfully authorized search of the defendant’s residence, law

enforcement discovered that the defendant violated his release conditions by possessing a loaded

M4 rifle and a partially-assembled pipe bomb at his home, and by purchasing an arsenal of 34

firearms online and transporting them in interstate commerce while under felony indictment, in

violation of 18 U.S.C. § 922(n).

       Review of additional records further corroborates the defendant’s participation in these

firearms offenses. See Sentencing Ex. A with attachments A-1 to A-3 (FBI FD-302 discussing

the defendant’s sentencing submissions). For example, in a recorded conversation between the

defendant and Dennis Deacon on September 13, 2021, the defendant makes clear the control he

exercised over his firearms during his pretrial release by stating, “[w]e’ve got a key to go in and

get them anytime we want to. [Pat’s] got a basement apartment and stuff and Pat doesn’t give a

rat’s ass.” See Sentencing Ex. A at 4-5. The Pat to whom the defendant refers is his neighbor

who accompanied him to the Capitol, and who confirmed to law enforcement that he was holding

firearms on the defendant’s behalf – and whose communications Robertson likely destroyed.

Deacon, incidentally, is the same individual who, submitted a letter to the Court noting that he

never had any doubt as to the defendant’s integrity. ECF No. 121-5. Additional messages


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between the defendant and his neighbor suggest the defendant may have retrieved some of his

weapons. Sentencing Ex. A-1 (Texts with Pat).

                        ii. History and Characteristics of the Defendant

       First, although the defendant has no criminal history prior to January 6, 2021, his post-

arrest weapons and ammunition hoarding in direct contravention of court orders shows a clear

pattern of disrespect for the law and the courts, and reflects the danger he poses, as discussed

further below. Second, the defendant has a police and military background, and used his law

enforcement training against other police officers attempting to defend the Capitol. And third,

Robertson has a track record of lying about his military service to his employer, his friends, and to

the news media. In evidence at trial were representations that the defendant made to the city of

Rocky Mount, Virginia in support of his application for employment with the police department.

Gov. Ex. 304; Trial Tr. 4/5/21 at 460 (Ervin test). The defendant identified himself on his resume

to be a U.S. Army Ranger school graduate. Gov. Ex. 304. Through written filings by counsel, he

made similar representations to this Court. ECF No. 31 (“Mr. Robertson served in the United

States Army…he became a Ranger and a Sniper school graduate”). A review of the defendant’s

official military records, however, confirms that he is neither an Army Ranger nor a graduate of

the U.S. Army Ranger School. See Sentencing Ex. B with attachments B-1 to B-5 (FBI FD-302

discussing the defendant’s Army Service); and specifically, B-1 (April 5, 2022, Ranger School

Memorandum).

       On January 11, 2021, just a few days after the attack, in an effort to publicly assert that his

own role in the insurrection was peaceful, law-abiding, and patriotic, the defendant also bragged

to a reporter that he achieved the rank of Sergeant First Class (E-7) and sent a photo that he claimed

to be of himself, adorned with a Purple Heart. Sentencing Exhibits. B-2 (Communications with
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Reporter) and B-3 (Related News Articles). This too is false; the defendant was discharged from

the Army at the rank of Specialist (E-4) on August 27, 2009, and never was awarded a Purple

Heart. Sentencing Ex. B at 4 and Sentencing Ex. B-4. Notably, the defendant lied to codefendant

Fracker—a former U.S. Marine, and the defendant’s subordinate officer at RMPD—about his

military service, using the lies to envelop himself in a cloak of credibility and imbue himself with

leadership authority, all of which influenced Fracker’s friendship with his former mentor, and

ultimately Fracker’s decision to join the defendant at the Capitol on January 6, 2021. These lies to

Fracker continued even after the defendant’s arrest. Sentencing Ex. B-5 (Fracker Texts)

(“Recognizing that I volunteered as a Ranger…”).

       The defendant has amply demonstrated his approval of violence to disrupt the peaceful

transfer of power. And now, the country approaches the final months of what is likely to be another

fiercely contested presidential election. If the defendant is released, the Court would be releasing

him into the same volatile political climate and unrest that led him to commit his crimes in the first

place. This presents an unacceptable risk to the safety of the community given the history and

characteristics of this defendant.

                       iii. The Need for the Sentence Imposed to Reflect the
                            Seriousness of the Offense and Promote Respect for the
                            Law

       As with the nature and circumstances of the offense, this factor supports a lengthy sentence

of incarceration. Robertson’s criminal conduct on January 6 was the epitome of disrespect for the

law and an attack on democracy, as detailed in the departure and variance sections. United States

v. Cronin, 22-cr-233-ABJ, Tr. 06/09/23 at 20 (“We cannot ever act as if this was simply a political

protest, simply an episode of trespassing in a federal building. What this was was an attack on our


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democracy itself and an attack on the singular aspect of democracy that makes America America,

and that’s the peaceful transfer of power.")

                           iv. The Need for the Sentence to Afford Adequate Deterrence

                                       General Deterrence

          A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C.§ 3553(a)(2)(B). The need to deter others is especially strong in cases involving

domestic terrorism, which the breach of the Capitol certainly was. 9 The demands of general

deterrence weigh strongly in favor of incarceration, as they will for nearly every case arising out

of the violent riot at the Capitol.

                                       Specific Deterrence

          The need for the sentence to provide specific deterrence to this particular defendant also

weighs heavily in favor of a lengthy term of incarceration. Not only did the defendant participate

in the January 6, 2021, insurrection and subsequently cover-up his criminal conduct by

destroying evidence, but after he was arrested, he trafficked in firearms in direct violation of this

Court’s orders. As detailed at length in the briefing on the Government’s motion to revoke the

defendant’s conditions of release, ECF Nos. 30, 32 and 34, on June 29, 2021, Robertson has had

multiple post-arrest weapons violations, including in January 2021, for possessing eight

unapproved firearms in his home and large amounts of ammunition and equipment seemingly

used for reloading ammunition on his property; and in June 2021, for possessing a loaded M4

rifle and a partially-assembled pipe bomb at his home, and purchasing an arsenal of 34 firearms




9
    See 18 U.S.C. § 23]31(5) (defining “domestic terrorism”).
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online and transporting them in interstate commerce while under felony indictment, in violation

of 18 U.S.C. § 922(n).

       Accordingly, although the defendant has a criminal history category of I, his post-arrest

conduct shows a clear pattern of disrespect for the law and an inability to forgo weapons even

under court order. This behavior not only suggests that Robertson is a risk of danger to the

community, but it demonstrates that Robertson’s sentence must be sufficient to provide specific

deterrence from committing future crimes of violence, particularly in light of his history of

violent political rhetoric. Additionally, Robertson’s post-January 6 social media messages

confirm that he has not only a lack of remorse for his conduct but is proud of his behavior on

January 6 (“I am fucking PROUD of it…”), and would engage in such behavior again unless

sufficiently deterred.

                         v. The Need to Avoid Unwarranted Sentencing Disparities

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider … the need to avoid

unwarranted sentence disparities among defendants [1] with similar records [2] who have been

found guilty of similar conduct.” (emphasis added). Although different charges are a legitimate

consideration when determining if there are warranted disparities between two sentences, the focus

of the judicial inquiry should be on the real underlying conduct. See United States v. Bridgewater,

950 F.3d 928, 936 (7th Cir. 2020) (“A difference in types of charges is a legitimate consideration

when determining whether there should be a justifiable difference, or disparity, between the

sentences of two defendants”); United States v. Booker, 543 U.S. 220, 223, 125 S. Ct. 738, 743,

160 L. Ed. 2d 621 (2005) (“Congress’ basic statutory goal of diminishing sentencing disparity

depends for its success upon judicial efforts to determine, and to base punishment upon, the real

conduct underlying the crime of conviction.”). Courts have recognized that “[n]o limitation shall
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be placed on the information concerning the background, character, and conduct of a person

convicted of an offense which a court of the United States may receive and consider for the purpose

of imposing an appropriate sentence.” United States v. Rhodes, 145 F.3d 1375, 1381 (D.C. Cir.

1998) (citing 18 U.S.C. § 3661) (emphasis added). District Courts thus “may still consider [the

defendant’s] serious conduct on January 6th, 2021, in its entirety, even if the court of appeals

concludes that this conduct no longer constitutes a crime under 18 U.S.C. § 1512.” Hostetter,

1:21-CR-392-1-RCL, ECF 507 at 4.

       Additionally, pre-Fischer 1512(c)(2) cases remain reliable comparators because a review

of sentences given by district judges in pre-Fischer Capitol Siege cases involving 1512(c)(2)

convictions confirms that district judges were already appropriately considering and weighing the

18 U.S.C. § 3553(a) factors in their decision-making, instead of being beholden to the Guidelines.

In a majority of pre-Fischer Capitol Siege cases involving 1512(c)(2) convictions, judges

sentenced outside of the then-applicable Guidelines range and gave variances based on the §

3553(a) factors. At least 19 of the district judges who have sentenced Capitol Siege cases have

varied in at least one of their cases involving a 1512(c)(2) conviction. And when varying, judges

considered the importance of the context and the attempts to obstruct the certification. See, e.g.,

United States v. Lucas Denney, 22-cr-70 (RDM), Sent. Tr. at 83 (“I will say that under other

circumstances, I might have varied further downward. But I had to temper any basis for varying

further downward by the fact that the attacks occurred in the context of an assault on our

democracy, an assault on the Capitol, an assault on one of the most sacred events in our nation,

and that resulted in injuries, not just to the psychic well being of the officers who were -- endured

that assault, but to the nation as a whole.”); United States v. Hunter Seefried, 21-cr-287 (TNM),

Sent. Tr. at 54 (“I have no doubt that the Commission would have intended for this to be applied
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to a substantial interference with an official proceeding, which is itself more significant than almost

any proceeding. And you and your fellow rioters were responsible for substantially interfering with

the certification, causing a multiple-hour delay, numerous law enforcement injuries and the

expenditure of extensive resources. Therefore, I intend to vary upwards from the guideline range

I've calculated to reflect the substantial interference you and others caused.”); United States v.

Gilbert Fonticoba, 21-cr-638 (TJK), Sent. Tr. at 66-67 (“I’m varying downward given the posture

we’re in. But I would vary upward significantly to get to 48 months if I only had Count 2, because

I think there, again, given the evidence here of the intent the defendant's conceded, the intent to

obstruct the proceeding and the nature of the proceeding itself is so important and so critical in

terms of deterrence and all the rest and in terms of the specific fact pattern here that that would be

my sentence.”).

       At the original sentencing in the instant case, the Court used the defendant in United States

v. Reffitt, 21-cr- 32 (DLF) as a comparator. See 8/11/22 Sent. Tr. at 64-66 (“[O]n balance, I think

the two cases are roughly notionally the same”). The Court noted that Reffitt was also one of the

first January 6 cases to go to trial; that neither defendant had criminal history; they had the exact

same offense level and 87-to-108-month guideline range; both defendants “had disturbing text

messages before January 6th advocating rebellion against the government based on the election,

“although Mr. Reffitt’s may have been a little more specific”; both carried a dangerous weapon

(Reffitt a firearm); neither assaulted police officers; both encouraged others to destroy evidence;

and although “Mr. Reffitt made clear and direct threats against Speaker Pelosi and Minority Leader

McConnell while also attempting to obstruct the certification… [Robertson] entered the Capitol,

and Mr. Reffitt did not.” Id. at 64-66. Reffitt also received a sentence of 87 months’ incarceration.


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       In the Reffitt matter, which is currently on appeal, Judge Friedrich, the sentencing judge,

noted after Brock that a sentence of 87 months’ imprisonment could be driven by the Section 3553

factors, even without applying 2J1.2(b)(1)(B) and § 2J1.2(b)(2). United States v. Reffitt, No. 21-

CR-32 (DLF), 2024 WL 1577941, at *5 (D.D.C. Apr. 10, 2024) (“The Court could arrive at the

same sentence of 87 months’ imprisonment by applying the § 3553(a) factors. Upon a resentencing

occasioned by a remand, unless the court of appeals expressly directs otherwise, the district court

may consider ... such new arguments or new facts as are made newly relevant by the court of

appeals,” including the application of an “upward variance.”) (internal citations and quotations

omitted).   This suggests that Reffitt remains a reliable comparator based on the 3553(a) factors.

                c. An Upward Variance is Warranted

       If the Court declines to depart, an upward variance to 87 months’ incarceration is

warranted. An upward variance is appropriate when “the defendant’s conduct was more harmful

or egregious than the typical case represented by the relevant Sentencing Guidelines range.”

United States v. Murray, 897 F.3d 298, 308–09 (D.C. Cir. 2018) (cleaned up). While the Supreme

Court’s decision in Fischer has changed defendant’s advisory Guideline range, it does not require

this Court to take a drastically different view of the defendant’s conduct. Hostetter, 21-CR-392-

RCL, ECF 507, at 4-5.

       In past sentencings, this court has made clear its view that attempts to obstruct the

certification on January 6 were “serious, not only for the delay that it caused and its effect on the

police officers that the government referenced, but more importantly the stain that it left on our

democracy.” United States v. Cooper John Herbert Strand, 1:21-cr-85 (CRC), 6/1/2023 Sent. Tr.,

at 76. Those were not merely empty words—they were a recognition of the seriousness and

unprecedented nature of the riot.
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       Also unprecedented is the need for January 6 sentences to promote respect for the law and

deter future crime. See 18 U.S.C. § 3553(a)(2)(A), (B). The January 6 rioters went far beyond

merely breaking the law. “There is a difference between breaking the law and rejecting the rule of

law.” See Opening Remarks, January 6 Select Committee (Rep. Kinzinger).

       And the risk of another attack on the Capitol remains. “The heated and inflammatory

rhetoric that brought the defendant to the District has not subsided.” United States v. Cleveland,

21-CR-159-ABJ, Sent. Tr. at 94-95. If we are to prevent another January 6 and restore respect for

the rule of law, sentences in these cases must send a message, and that message will not be

conveyed by treating the January 6 riot as a run-of-the-mill offense.

       Other courts have varied upward from the advisory guideline range specifically because of

the unique and serious nature of the crimes committed that day; this Court should do no less. See

Reffitt, 2024 WL 1577941, at *5 (upward variance would be justified because “as other judges in

this district have noted, the proceedings at issue on January 6, 2021 were of much greater

significance   than      run-of-the-mill   ‘judicial,   quasi-judicial,   and   adjunct   investigative

proceedings’”); United States v. Fonticoba, 21-CR-368-TJK, Sent’g Tr. 1/11/24 at 66–67 (stating

that, even if the defendant’s § 1512 conviction were invalidated, a significant upward variance was

warranted to account for the defendant’s intent “to obstruct the proceeding and the nature of the

proceeding itself”); United States v. Secor, 21-CR-157-TNM, Sent. Tr. 10/19/22 at 53 (“I believe

both the seriousness of the event — you obstructed the certification of an official proceeding —

and your particular role in it . . . require a significant upward variance”); Hale-Cusanelli, 21-CR-

37-TNM, Sent. Tr. 9/22/22 at 87 (“I also believe the extensive damage and injuries caused on

January 6th with your fellow rioters require additional punishment beyond what my [guideline]

calculation allows.”).
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       Additionally, as discussed above, in the Guideline recalculations here, all counts group,

and Count Six, Robertson’s 1512(c)(1) conviction for concealing and destroying records on his

and Fracker’s phones, determines the offense level for that single group. Because the offense level

for the 1512(c)(1) is singularly determinative of the total offense level, the conduct underlying

Robertson’s other convictions does not meaningfully enter into the determination of the applicable

guidelines range at all – the total offense level would be the same regardless of Robertson’s

trespass with a dangerous weapon, disorderly and disruptive conduct with a dangerous weapon,

obstruction of officers during a civil disorder, and attempts to interfere with the certification.

Because Robertson’s three other felony crimes do not meaningfully enter into the determination

of defendant’s guideline this Court should impose an upward variance to account for the full scope

of Robertson’s crimes.

       The D.C. Circuit has made clear that it “ordinarily presume[s] a district court imposing an

alternative non-guidelines sentence took into account all the factors listed in § 3553(a) and

accorded them the appropriate significance.” United States v. Warren, 700 F.3d 528, 533 (D.C.

Cir. 2012) (quoting United States v. Ayers, 428 F.3d 312, 315 (D.C. Cir. 2005)). But as recently

discussed in United States v. Iracks, 2024 WL 3308241 (D.C. Cir. July 5, 2024), for a sentence

above the applicable Guidelines range, the Sentencing Reform Act provides that the district court

must state “the specific reason for the imposition of a sentence different from that described [in

the Guidelines,]” both orally during the sentencing and on a written form appended to the

judgment. 18 U.S.C. § 3553(c)(2) (emphasis added). Accordingly, the Government requests that

the Court make specific findings that this defendant’s “conduct was more harmful or egregious

than the typical case represented by the relevant Sentencing Guidelines range” and “explain why

the otherwise applicable Guidelines calculation ‘does not fully account for the described criminal
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conduct.’” United States v. Brown, 892 F.3d 385, 404–05 (D.C. Cir. 2018) (quoting United States

v. Brown, 808 F.3d 865, 867, 872 (D.C. Cir. 2015)).

        VIII. Conclusion

       For the reasons set forth above, and as fully supported by the facts and the law, the United

States asks the Court to resentence defendant Robertson to a sentence of 87 months’ incarceration

for each of Counts Three (Entering or Remaining in a Restricted Building or Grounds with a

Dangerous Weapon), Four (Disorderly or Disruptive Conduct in a Restricted Building or Grounds

with a Dangerous Weapon), and Six (Obstruction of Justice—Destruction of Evidence); 60

months’ incarceration for Count Two (Civil Disorder); and six months’ incarceration for Count

Five (Disorderly Conduct in a Capitol Building), all to run concurrently with one another. The

United States further asks the Court to reinstate the previously imposed 3-year term of supervised

release, restitution of $2,000, and the mandatory special assessment for each of the counts of

conviction.

                                             Respectfully submitted,

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